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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 GOVERNMENT OF THE UNITED
 STATES VIRGIN ISLANDS,

                          Plaintiff,

 v.
                                                      Case No. 22-cv-10904 (JSR)
 JPMORGAN CHASE BANK, N.A.,

                          Defendant/Third-Party
                          Plaintiff.

 JPMORGAN CHASE BANK, N.A.,

 Third-Party Plaintiff,

 v.

 JAMES EDWARD STALEY,

 Third-Party Defendant.


       DECLARATION OF FELICIA H. ELLSWORTH IN SUPPORT OF JPMORGAN
      CHASE BANK, N.A.’S OPPOSITION TO THE GOVERNMENT OF THE UNITED
      STATES VIRGIN ISLANDS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

Pursuant to 28 U.S.C. § 1746, I, Felicia H. Ellsworth, declare under penalty of perjury as

follows:

      1.   I am a member in good standing of the bar of the Commonwealth of Massachusetts. I

           am one of the attorneys representing Defendant JPMorgan Chase Bank, N.A. (“JPMC”)

           in the above-captioned action and have been admitted to this Court pro hac vice. I am a

           Partner with the law firm of Wilmer Cutler Pickering Hale and Dorr LLP, 60 State

           Street, Boston, Massachusetts 02109. I am familiar with the facts set forth herein, and

           if called as a witness, I could and would competently testify thereto.




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2.   Attached as Exhibit 54 is a true and correct copy of excerpts of the transcript from the

     July 7, 2023 deposition of Bridgette Carr, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

3.   Attached as Exhibit 55 is a true and correct copy of excerpts of the transcript from the

     May 26, 2023 deposition of James Dimon, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

4.   Attached as Exhibit 56 is a true and correct copy of excerpts of JPMC's Responses and

     Objections to Third-Party Defendant James E. Staley's Requests for Admission.

5.   Attached as Exhibit 57 is a true and correct copy of excerpts of the transcript from the

     March 29, 2023 deposition of Francis Pearn.

6.   Attached as Exhibit 58 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00072548, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

7.   Attached as Exhibit 59 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00139994, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

8.   Attached as Exhibit 60 is a true and correct copy of excerpts from the June 23, 2023

     Expert Report of Teresa A. Pesce, designated confidential pursuant to the Protective

     Order in this matter and filed under seal.

9.   Attached as Exhibit 61 is a true and correct copy of excerpts of the transcript from the

     March 15, 2023 deposition of Mary Erdoes, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.




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10.   Attached as Exhibit 62 is a true and correct copy of excerpts of JPMC’s Responses and

      Objections to USVI's First Requests for Admission.

11.   Attached as Exhibit 63 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00149115.

12.   Attached as Exhibit 64 is a true and correct copy of the Rubenstein, Who We Are page,

      available at https://rubenstein.com/who-we-are/#.

13.   Attached as Exhibit 65 is a true and correct copy of excerpts of the transcript from the

      June 27, 2023 deposition of Jorge Amador, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

14.   Attached as Exhibit 66 is a true and correct copy of excerpts of the transcript from the

      April 7, 2023 deposition of Mary Casey.

15.   Attached as Exhibit 67 is a true and correct copy of excerpts of the transcript from the

      July 12, 2023 deposition of Marcus Sheridan, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

16.   Attached as Exhibit 68 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00755535.

17.   Attached as Exhibit 69 is a true and correct copy of excerpts from JPMC’s Responses

      and Objections to Doe's First Set of Interrogatories.

18.   Attached as Exhibit 70 is a true and correct copy of excerpts of the transcript from the

      June 10, 2023 deposition of James Staley.

19.   Attached as Exhibit 71 is a true and correct copy of excerpts of the transcript from the

      July 18, 2023 deposition of Catherine Keating, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.




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20.   Attached as Exhibit 72 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00902699, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

21.   Attached as Exhibit 73 is a true and correct copy of excerpts of Third-Party Defendant

      James E. Staley's May 23, 2023 Responses and Objections to The United States Virgin

      Islands’ Requests for Admission.

22.   Attached as Exhibit 74 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00153462.

23.   Attached as Exhibit 75 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00136978.

24.   Attached as Exhibit 76 is a true and correct copy of excerpts of the transcript from the

      April 21, 2023 deposition of Justin Nelson, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

25.   Attached as Exhibit 77 is a true and correct copy of excerpts of the transcript from the

      July 13, 2023 deposition of John Duffy, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

26.   Attached as Exhibit 78 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00754968, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

27.   Attached as Exhibit 79 is a true and correct copy of excerpts of the transcript from the

      May 24, 2023 deposition of Stephen Cutler.




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28.   Attached as Exhibit 80 is a true and correct copy of excerpts of the transcript from the

      July 7, 2023 deposition of Shaun O'Neill, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

29.   Attached as Exhibit 81 is a true and correct copy of excerpts from the June 23, 2023

      Expert Report of Joe Fonseca, designated confidential pursuant to the Protective Order

      in this matter and filed under seal.

30.   Attached as Exhibit 82 is a true and correct copy of an article titled, “French modeling

      agent Jean-Luc Brunel found dead in prison cell” dated February 21, 2022 available at

      https://www.cnn.com/2022/02/19/europe/jean-luc-brunel-jeffrey-epstein-death-

      intl/index.html.

31.   Attached as Exhibit 83 is a true and correct copy of an article titled “Billionaire Jeffrey

      Epstein Arrested for Sec Trafficking” dated July 7, 2019, available at

      https://gothamist.com/news/billionaire-jeffrey-epstein-arrested-for-sex-trafficking.

32.   Attached as Exhibit 84 is a true and correct copy of Exhibit 19 to the May 26, 2023

      deposition of Inais Borque.

33.   Attached as Exhibit 85 is a true and correct copy excerpts of produced by Plaintiff the

      Government of the United States Virgin Islands, Bates stamped VI-JPM-000012446_U,

      designated confidential pursuant to the Protective Order in this matter and filed under

      seal.

34.   Attached as Exhibit 86 is a true and correct copy of excerpts of the VIPA Police

      Manual.

35.   Attached as Exhibit 87 is a true and correct copy of excerpts of produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-




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      000006467, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

36.   Attached as Exhibit 88 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000018027, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

37.   Attached as Exhibit 89 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000018041, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

38.   Attached as Exhibit 90 is a true and correct copy of excerpts of the June 23, 2023

      Carlyn Irwin Expert Report, designated confidential pursuant to the Protective Order in

      this matter and filed under seal.

39.   Attached as Exhibit 91 is a true and correct copy of excerpts of the transcript from the

      July 6, 2023 deposition of Carlyn Irwin, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

40.   Attached as Exhibit 92 is a true and correct copy of excerpts of the transcript from the

      May 10, 2023 deposition of Bonnie Perry, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

41.   Attached as Exhibit 93 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-W-00026008, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.




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42.   Attached as Exhibit 94 is a true and correct copy of excerpts of the transcript from the

      July 13, 2023 deposition of Francis Pearn, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

43.   Attached as Exhibit 95 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00127953.

44.   Attached as Exhibit 96 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00001893.

45.   Attached as Exhibit 97 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00449994.

46.   Attached as Exhibit 98 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00127944.

47.   Attached as Exhibit 99 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00010814, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

48.   Attached as Exhibit 100 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00157090.

49.   Attached as Exhibit 101 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00152748_R.

50.   Attached as Exhibit 102 is a true and correct copy of excerpts of the transcript from the

      May 24, 2023 deposition of Maryanne Ryan, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

51.   Attached as Exhibit 103 is a true and correct copy of excerpts of the transcript from the

      April 28, 2023 deposition of Kevin McCleerey.




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52.   Attached as Exhibit 104 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00119630.

53.   Attached as Exhibit 105 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00274774, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

54.   Attached as Exhibit 106 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00127930, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

55.   Attached as Exhibit 107 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00452980.

56.   Attached as Exhibit 108 is a true and correct copy of excerpts of the transcript from the

      May 3, 2023 deposition of William Langford, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

57.   Attached as Exhibit 109 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00127928.

58.   Attached as Exhibit 110 is a true and correct copy of the June 16, 2023 Expert Report

      of Jorge Amador, designated confidential pursuant to the Protective Order in this matter

      and filed under seal.

59.   Attached as Exhibit 111 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00755043.

60.   Attached as Exhibit 112 is a true and correct copy of a document produced by third

      party The Estate of Jeffrey E. Epstein, Bates stamped Estate_006622, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.




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61.   Attached as Exhibit 113 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00136519, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

62.   Attached as Exhibit 114 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00231636, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

63.   Attached as Exhibit 115 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00230825, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

64.   Attached as Exhibit 116 is a true and correct copy of excerpts of the transcript from the

      May 30, 2023 deposition of Francis Pearn, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

65.   Attached as Exhibit 117 is a true and correct copy of excerpts of the transcript from the

      May 18, 2023 deposition of Richard Kahn, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

66.   Attached as Exhibit 118 is a true and correct copy of the May 26, 2023 Declaration of

      Lawrence P. Visoski, Jane Doe 1 v. Deutsche Bank, Case No. 1:22-cv-10018 (JSR).

67.   Attached as Exhibit 119 is a true and correct copy of excerpts of the transcript from the

      April 20, 2023 deposition of Phillip DeLuca, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

68.   Attached as Exhibit 120 is a true and correct copy of excerpts of the transcript from the

      June 30, 2023 deposition of Kimberly Mehlman-Orozco, designated confidential

      pursuant to the Protective Order in this matter and filed under seal.




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69.    Attached as Exhibit 121 is a true and correct copy of excerpts of the transcript from the

       April 18, 2023 deposition of Paul Morris.

70.    Attached as Exhibit 122 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00036580, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

71.    Attached as Exhibit 123 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-W-00025201, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

72.    Attached as Exhibit 124 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00152809, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

73.    Attached as Exhibit 125 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-W-00026008, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

74.    Attached as Exhibit 126 is a true and correct copy of excerpts of the transcript from the

       July 10, 2023 deposition of Stephen Cutler, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

75. Attached as Exhibit 127 is a true and correct copy of excerpts of the transcript from the

       July 12, 2023 deposition of Mary Erdoes, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

76.    Attached as Exhibit 128 is a true and correct copy of excerpts of the transcript from the

       March 3, 2023 deposition of Jane Doe 1, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.




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77.    Attached as Exhibit 129 is a true and correct copy of excerpts of the transcripts from

       the June 11, 2023 deposition of James Staley, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

78.    Attached as Exhibit 130 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00006171.

79.    Attached as Exhibit 131 is a true and correct copy of a document produced by third

       party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM002773,

       designated confidential pursuant to the Protective Order in this matter and filed under

       seal.

80.    Attached as Exhibit 132 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00006718.

81.    Attached as Exhibit 133 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00006716, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

82.    Attached as Exhibit 134 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00006791.

83.    Attached as Exhibit 135 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00006792, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

84.    Attached as Exhibit 136 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00008342.

85.    Attached as Exhibit 137 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00008669.




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86.    Attached as Exhibit 138 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00013210, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

87.    Attached as Exhibit 139 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00013402.

88.    Attached as Exhibit 140 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00013463, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

89.    Attached as Exhibit 141 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00013475.

90.    Attached as Exhibit 142 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00013669.

91.    Attached as Exhibit 143 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00013762.

92.    Attached as Exhibit 144 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00005845, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

93.    Attached as Exhibit 145 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00006553, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

94.    Attached as Exhibit 146 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00006886, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.




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95.    Attached as Exhibit 147 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00010121, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

96.    Attached as Exhibit 148 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00010989, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

97.    Attached as Exhibit 149 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00012289, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

98.    Attached as Exhibit 150 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00012466, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

99.    Attached as Exhibit 151 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00004661.

100. Attached as Exhibit 152 is a true and correct copy of a document produced by third

       party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM001758,

       designated confidential pursuant to the Protective Order in this matter and filed under

       seal.

101. Attached as Exhibit 153 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00006586.

102. Attached as Exhibit 154 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00006592.




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103. Attached as Exhibit 155 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00006874.

104. Attached as Exhibit 156 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00012494.

105. Attached as Exhibit 157 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00004394, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

106. Attached as Exhibit 158 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00004388, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

107. Attached as Exhibit 159 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM002742,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

108. Attached as Exhibit 160 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00006704, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

109. Attached as Exhibit 161 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00010330, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

110. Attached as Exhibit 162 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00010603, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.




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111. Attached as Exhibit 163 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00004186, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

112. Attached as Exhibit 164 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00010284, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

113. Attached as Exhibit 165 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM003001,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

114. Attached as Exhibit 166 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM002019,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

115. Attached as Exhibit 167 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00013770.

116. Attached as Exhibit 168 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00205452.

117. Attached as Exhibit 169 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00269718, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.




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118. Attached as Exhibit 170 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00269719, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

119. Attached as Exhibit 171 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00021957, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

120. Attached as Exhibit 172 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00033761, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

121. Attached as Exhibit 173 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00021997, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

122. Attached as Exhibit 174 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00037446, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

123. Attached as Exhibit 175 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00037463, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

124. Attached as Exhibit 176 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00022528, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.




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125. Attached as Exhibit 177 is a true and correct copy of excerpts of a document produced

     by JPMC, Bates stamped JPM-SDNYLIT-W-00017133, designated confidential

     pursuant to the Protective Order in this matter and filed under seal.

126. Attached as Exhibit 178 is a true and correct copy of excerpts of a document produced

     by JPMC, Bates stamped JPM-SDNYLIT-W-00008055, designated confidential

     pursuant to the Protective Order in this matter and filed under seal.

127. Attached as Exhibit 179 is a true and correct copy of excerpts of a document produced

     by JPMC, Bates stamped JPM-SDNYLIT-W-00020952, designated confidential

     pursuant to the Protective Order in this matter and filed under seal.

128. Attached as Exhibit 180 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00000183, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

129. Attached as Exhibit 181 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00000001, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

130. Attached as Exhibit 182 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00000211, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

131. Attached as Exhibit 183 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00022540, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.




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132. Attached as Exhibit 184 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00008100, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

133. Attached as Exhibit 185 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00022549, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

134. Attached as Exhibit 186 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00008123, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

135. Attached as Exhibit 187 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-W-00008144, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

136. Attached as Exhibit 188 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00136910, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

137. Attached as Exhibit 189 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00136911, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

138. Attached as Exhibit 190 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00100966.

139. Attached as Exhibit 191 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00150176.




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140. Attached as Exhibit 192 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00100998, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

141. Attached as Exhibit 193 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00030327, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

142. Attached as Exhibit 194 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00016246, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

143. Attached as Exhibit 195 is a true and correct copy of excerpts from JPMC’s Responses

     and Objections to The United States Virgin Islands First Requests for Admissions.

144. Attached as Exhibit 196 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00902715, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

145. Attached as Exhibit 197 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00373074.

146. Attached as Exhibit 198 is a true and correct copy of a document produced by JPMC,

     Bates stamped JPM-SDNYLIT-00373254.

147. Attached as Exhibit 199 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015321.

148. Attached as Exhibit 200 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015326,




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     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

149. Attached as Exhibit 201 is a true and correct copy of Exhibit 7 from the July 20, 2023

     deposition of Denise George.

150. Attached as Exhibit 202 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016517,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

151. Attached as Exhibit 203 is a true and correct copy of excerpts of the transcript from the

     June 6, 2023 deposition of Albert Bryan.

152. Attached as Exhibit 204 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016246,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

153. Attached as Exhibit 205 is a true and correct copy of excerpts of a document produced

     by Plaintiff the Government of the United States Virgin Islands, Bates stamped VI-

     JPM-000006066, designated confidential pursuant to the Protective Order in this matter

     and filed under seal.

154. Attached as Exhibit 206 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM025237,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.




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155. Attached as Exhibit 207 is a true and correct copy of excerpts of the transcript from the

     May 29, 2023 deposition of Stacey Plaskett.

156. Attached as Exhibit 208 is a true and correct copy of excerpts of the transcript from the

     May 29, 2023 deposition of Cecile de Jongh, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

157. Attached as Exhibit 209 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015885,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

158. Attached as Exhibit 210 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015674,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

159. Attached as Exhibit 211 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM059741,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

160. Attached as Exhibit 212 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016163,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

161. Attached as Exhibit 213 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015950,




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     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

162. Attached as Exhibit 214 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM022478,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

163. Attached as Exhibit 215 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM022479,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

164. Attached as Exhibit 216 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016210,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

165. Attached as Exhibit 217 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM058471,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

166. Attached as Exhibit 218 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM060696,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.




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167. Attached as Exhibit 219 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM058976,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

168. Attached as Exhibit 220 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM023608,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

169. Attached as Exhibit 221 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM012505,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

170. Attached as Exhibit 222 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015733,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

171. Attached as Exhibit 223 is a true and correct copy of excerpts of the transcript from the

     May 24, 2023 deposition of Kenneth Mapp.

172. Attached as Exhibit 224 is a true and correct copy of excerpts of the transcript from the

     May 30, 2023 deposition of John de Jongh.

173. Attached as Exhibit 225 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM066053,




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     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

174. Attached as Exhibit 226 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016303,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

175. Attached as Exhibit 227 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM030178,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

176. Attached as Exhibit 228 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM024203,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

177. Attached as Exhibit 229 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM021286,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

178. Attached as Exhibit 230 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM024371,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.




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179. Attached as Exhibit 231 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM024370,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

180. Attached as Exhibit 232 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM011964,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

181. Attached as Exhibit 233 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM064333,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

182. Attached as Exhibit 234 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM064334,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

183. Attached as Exhibit 235 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM024927,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

184. Attached as Exhibit 236 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM022970,




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     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

185. Attached as Exhibit 237 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM050241,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

186. Attached as Exhibit 238 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM050265,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

187. Attached as Exhibit 239 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM060776,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

188. Attached as Exhibit 240 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM061002,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

189. Attached as Exhibit 241 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM061003,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.




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190. Attached as Exhibit 242 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM055381,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

191. Attached as Exhibit 243 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM021989,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

192. Attached as Exhibit 244 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM012219,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

193. Attached as Exhibit 245 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000021920, designated confidential pursuant to the Protective Order in this matter and

     filed under seal.

194. Attached as Exhibit 246 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM061123,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

195. Attached as Exhibit 247 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM062263,




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     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

196. Attached as Exhibit 248 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM062254,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

197. Attached as Exhibit 249 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM065842,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

198. Attached as Exhibit 250 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM060812,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

199. Attached as Exhibit 251 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM020484,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

200. Attached as Exhibit 252 is a true and correct copy of Exhibit 20 from the May 29, 2023

     deposition of Cecile de Jongh.

201. Attached as Exhibit 253 is a true and correct copy of excerpts of the transcript from the

     May 26, 2023 deposition of Inais Borque.




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202. Attached as Exhibit 254 is a true and correct copy of Exhibit 5 from the May 26, 2023

     deposition of Inais Borque, designated confidential pursuant to the Protective Order in

     this matter and filed under seal.

203. Attached as Exhibit 255 is a true and correct copy of Exhibit 37 from the March 15,

     2023 deposition of Mary Erdoes.

204. Attached as Exhibit 256 is a true and correct copy of Exhibit 4 from the July 7, 2023

     deposition of Jean-Pierre Oriol, designated confidential pursuant to the Protective Order

     in this matter and filed under seal.

205. Attached as Exhibit 257 is a true and correct copy of Exhibit 5 from the July 7, 2023

     deposition of Jean-Pierre Oriol, designated confidential pursuant to the Protective Order

     in this matter and filed under seal.

206. Attached as Exhibit 258 is a true and correct copy of excerpts of the transcript from the

     July 7, 2023 deposition of Jean-Pierre Oriol, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

207. Attached as Exhibit 259 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000061108, designated confidential pursuant to the Protective Order in this matter and

     filed under seal.

208. Attached as Exhibit 260 is a true and correct copy of Exhibit 10 from the July 13, 2023

     deposition of Carol Thomas-Jacobs.

209. Attached as Exhibit 261 is a true and correct copy of excerpt of the transcript from the

     July 18, 2023 deposition of Shani Pinney, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.




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210. Attached as Exhibit 262 is a true and correct copy of excerpts of the transcript from the

     July 20, 2023 deposition of Denise George, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

211. Attached as Exhibit 263 is a true and correct copy of excerpts of the transcript from the

     July 12, 2023 deposition of Carol Thomas-Jacobs, designated confidential pursuant to

     the Protective Order in this matter and filed under seal.

212. Attached as Exhibit 264 is a true and correct copy of excerpts of the transcript from the

     July 17, 2023 deposition of Denise George, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

213. Attached as Exhibit 265 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016557,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

214. Attached as Exhibit 266 is a true and correct copy of excerpts of the transcript from the

     July 13, 2023 deposition of Vincent Frazer, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

215. Attached as Exhibit 267 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM024492,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

216. Attached as Exhibit 268 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM024494,




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     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

217. Attached as Exhibit 269 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM030223,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

218. Attached as Exhibit 270 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM030225,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

219. Attached as Exhibit 271 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM030228,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

220. Attached as Exhibit 272 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM025221,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

221. Attached as Exhibit 273 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM030179,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.




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222. Attached as Exhibit 274 is a true and correct copy of Exhibit 1 to the July 18, 2023

     deposition of Shani Pinney.

223. Attached as Exhibit 275 is a true and correct copy of the legacy file copy of the Act No.

     7372, Bill No. 29-0239, Twenty-Ninth Legislature of The Virgin Islands, Regular

     Session, 2012, available at

     https://stthomassource.com/legacy_files/userfiles/file/vetoed%20bills%2071912/Act%2

     0No_%207372%20-%20Bill%20No_%2029-0239.pdf.

224. Attached as Exhibit 276 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM025227,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

225. Attached as Exhibit 277 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015021,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

226. Attached as Exhibit 278 is a true and correct copy of Bill 0444, a bill passed in the

     United States Virgin Islands in 2012.

227. Attached as Exhibit 279 is a true and correct copy of excerpts of a document produced

     by Plaintiff the Government of the United States Virgin Islands, Bates stamped VI-

     JPM-000012237, designated confidential pursuant to the Protective Order in this matter

     and filed under seal.




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228. Attached as Exhibit 280 is a true and correct copy of excerpts of a document produced

     by Plaintiff the Government of the United States Virgin Islands, Bates stamped VI-

     JPM-000012328.

229. Attached as Exhibit 281 is a true and correct copy of 14 Virgin Islands Code

     § 1721B(a)(1).

230. Attached as Exhibit 282 is a true and correct copy of produced by Plaintiff the

     Government of the United States Virgin Islands, Bates stamped VI-JPM000012616,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

231. Attached as Exhibit 283 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000087959, designated confidential pursuant to the Protective Order in this matter and

     filed under seal.

232. Attached as Exhibit 284 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016129,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

233. Attached as Exhibit 285 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM025693,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

234. Attached as Exhibit 286 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM044489,




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     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

235. Attached as Exhibit 287 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016521,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

236. Attached as Exhibit 288 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015782,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

237. Attached as Exhibit 289 is a true and correct copy of excerpts of the June 16, 2023

     Expert Report of Bridgette Carr, designated confidential pursuant to the Protective

     Order in this matter and filed under seal.

238. Attached as Exhibit 290 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM024879,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

239. Attached as Exhibit 291 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016458,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

240. Attached as Exhibit 292 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016316,




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     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

241. Attached as Exhibit 293 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM025196,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

242. Attached as Exhibit 294 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM024114,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

243. Attached as Exhibit 295 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM024119,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

244. Attached as Exhibit 296 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM020206,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

245. Attached as Exhibit 297 is a true and correct copy of the travel website of the U.S.

     Department of State regarding student visas, available at

     https://travel.state.gov/content/travel/en/us-visas/study/student-visa.html.

246. Attached as Exhibit 298 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM020983,




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     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

247. Attached as Exhibit 299 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM064398,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

248. Attached as Exhibit 300 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM022289,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

249. Attached as Exhibit 301 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM029515,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

250. Attached as Exhibit 302 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM055329,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

251. Attached as Exhibit 303 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM059347,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.




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252. Attached as Exhibit 304 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000087870, designated confidential pursuant to the Protective Order in this matter and

     filed under seal.

253. Attached as Exhibit 305 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM023450,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

254. Attached as Exhibit 306 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015784,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

255. Attached as Exhibit 307 is a true and correct copy of Exhibit 19 from the May 29, 2023

     deposition of Cecile de Jongh, designated confidential pursuant to the Protective Order

     in this matter and filed under seal.

256. Attached as Exhibit 308 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM021434,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

257. Attached as Exhibit 309 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015122,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.




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258. Attached as Exhibit 310 is a true and correct copy of Plaintiff the Government of the

     United States Virgin Islands’ Second Amended Complaint, designated confidential

     pursuant to the Protective Order in this matter and filed under seal.

259. Attached as Exhibit 311 is a true and correct copy of excerpts from the transcript of the

     May 26, 2023 deposition of Margarita Benjamin.

260. Attached as Exhibit 312 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000017983.

261. Attached as Exhibit 313 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000018005.

262. Attached as Exhibit 314 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000019063.

263. Attached as Exhibit 315 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM016245,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

264. Attached as Exhibit 316 is a true and correct copy of excerpts of a document produced

     by Plaintiff the Government of the United States Virgin Islands, Bates stamped VI-

     JPM-000013479, designated confidential pursuant to the Protective Order in this matter

     and filed under seal.




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265. Attached as Exhibit 317 is a true and correct copy of a document produced by Mark

     Paneth, Bates stamped MP-00001858, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

266. Attached as Exhibit 318 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000023078.

267. Attached as Exhibit 319 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000023091.

268. Attached as Exhibit 320 is a true and correct copy of excerpts from the May 17, 2023

     deposition of Sandra Bess.

269. Attached as Exhibit 321 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM015014,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

270. Attached as Exhibit 322 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM018432,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

271. Attached as Exhibit 323 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000022897.




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272. Attached as Exhibit 324 is a true and correct copy of a document produced by third

     party The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM055884,

     designated confidential pursuant to the Protective Order in this matter and filed under

     seal.

273. Attached as Exhibit 325 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000016206.

274. Attached as Exhibit 326 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000018885, designated confidential pursuant to the Protective Order in this matter and

     filed under seal.

275. Attached as Exhibit 327 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000016200, designated confidential pursuant to the Protective Order in this matter and

     filed under seal.

276. Attached as Exhibit 328 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000018918, designated confidential pursuant to the Protective Order in this matter and

     filed under seal.

277. Attached as Exhibit 329 is a true and correct copy of a document produced by Plaintiff

     the Government of the United States Virgin Islands, Bates stamped VI-JPM-

     000018934, designated confidential pursuant to the Protective Order in this matter and

     filed under seal.




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  278. Attached as Exhibit 330 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000018551, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

  279. Attached as Exhibit 331 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000017233.

  280. Attached as Exhibit 332 is a true and correct copy of Exhibit 37 from the May 26, 2023

       deposition of Margarita Benjamin.

  281. Attached as Exhibit 333 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000016492.

  282. Attached as Exhibit 334 is a true and correct copy of Exhibit 14 from the May 29, 2023

       deposition of Cecile de Jongh.

  283. Attached as Exhibit 335 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-W-00008805, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.



Dated: August 7, 2023                           /s/ Felicia Ellsworth

                                                Felicia H. Ellsworth




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